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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

  -------------------------------------- x
  In re:                                                              : Chapter 11
                                                                      :
  HOUGHTON MIFFLIN                                                    : Case No. 12-____ (___)
  HARCOURT PUBLISHING COMPANY, et al.,1                               :
                                                                      : (Joint Administration Pending)
                                               Debtors.               :
  -------------------------------------- x

             DEBTORS’ MOTION FOR AN ORDER (I) AUTHORIZING THE
         DEBTORS TO PAY CERTAIN PREPETITION (A) WAGES, SALARIES,
        COMMISSIONS AND OTHER COMPENSATION; (B) COMPENSATION
      OWED TO PROJECT EMPLOYEES AND INDEPENDENT CONTRACTORS;
           (C) EMPLOYEE BUSINESS EXPENSES; (D) CONTRIBUTIONS TO
      EMPLOYEE BENEFIT PROGRAMS AND THE CONTINUATION OF SUCH
             PROGRAMS IN THE ORDINARY COURSE; AND (E) PAYROLL
       WITHHOLDINGS AND RELATED DEDUCTIONS AND PAYMENTS; AND
        (II) AUTHORIZING AND DIRECTING FINANCIAL INSTITUTIONS TO
         HONOR AND PAY ALL CHECKS AND TRANSFERS DRAWN ON THE
               DEBTORS’ ACCOUNTS RELATED TO THE FOREGOING


  1
       The Debtors in these cases along with the last four digits of each Debtor‟s federal tax identification
       number, are Houghton Mifflin Harcourt Publishing Company (6030), Houghton Mifflin Harcourt
       Publishers Inc. (7305), HMH Publishers, LLC (7173), Houghton Mifflin Holding Company, Inc.
       (2898), Houghton Mifflin, LLC (2961), Houghton Mifflin Finance, Inc. (2812), Houghton Mifflin
       Holdings, Inc. (0674), HM Publishing Corp. (5843), Riverdeep Inc., a Limited Liability Company
       (9612), Broderbund LLC (6113), RVDP, Inc. (2557), HRW Distributors, Inc. (4902), Greenwood
       Publishing Group, Inc. (4537), Classroom Connect, Inc. (3282), ACHIEVE! Data Solutions, LLC
       (7499), Steck-Vaughn Publishing LLC (6929), HMH Supplemental Publishers Inc. (7571), HMH
       Holdings (Delaware), Inc. (6372), Sentry Realty Corporation (6742), Houghton Mifflin Company
       International, Inc. (9100), The Riverside Publishing Company (0173), Classwell Learning Group Inc.
       (9252), Cognitive Concepts, Inc. (5986), Edusoft (9992), Advanced Learning Centers, Inc. (2861).
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                 Houghton Mifflin Harcourt Publishing Company and its affiliated debtors

  and debtors-in-possession in the above-captioned cases (each a “Debtor,” and

  collectively, the “Debtors”), by and through their undersigned counsel, hereby move this

  Court for entry of an order substantially in the form attached hereto as Exhibit A (the

  “Order”) pursuant to sections 105(a), 363(b), 507(a)(3) and 507(a)(4) of title 11 of the

  United States Code (the “Bankruptcy Code”): (I) authorizing the Debtors to pay certain

  prepetition (A) wages, salaries, commissions and other compensation; (B) compensation

  owed to project employees and independent contractors; (C) employee business

  expenses; (D) contributions to employee benefit programs and the continuation of such

  programs in the ordinary course; and (E) payroll withholding and related deductions and

  payments; and (II) authorizing and directing banks and other financial institutions to

  honor and pay all checks and transfers drawn on the Debtors‟ accounts related to the

  foregoing; and granting them such other and further relief as the Court deems just and

  proper. In support of this motion (the “Motion”), the Debtors rely upon the affidavit of

  William F. Bayers pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the

  Southern District of New York (the “Bayers Affidavit”), filed contemporaneously

  herewith and incorporated herein by reference, and respectfully state as follows:

                                      JURISDICTION

                1.       This Court has jurisdiction to hear this Motion under

  28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

  Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. Sections 105(a), 363(b),

  507(a)(3) and 507(a)(4) of the Bankruptcy Code provide the statutory predicate for the

  requested relief.



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                                      BACKGROUND

                2.       On the date hereof (the “Petition Date”), each of the Debtors filed

  with this Court a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

  The Debtors continue to operate their businesses and manage their properties as debtors-

  in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. As

  described more fully below, contemporaneously with the filing of their petitions, the

  Debtors also filed their Prepackaged Joint Plan of Reorganization (the “Prepackaged

  Plan”) to implement a restructuring of certain of the Debtors‟ outstanding indebtedness

  and existing equity interests. Although the solicitation period remains open, as of the

  Petition Date, 90.3% of the total amount of creditors entitled to vote on the Prepackaged

  Plan voted in favor of the Prepackaged Plan and 76% in amount of equity holders entitled

  to vote on the Prepackaged Plan voted in favor of the Prepackaged Plan. The Debtors did

  not receive any ballots rejecting the Prepackaged Plan. As a result of the overwhelming

  support for the Prepackaged Plan, the Debtors intend to move forward with confirmation

  of the Prepackaged Plan at the Court‟s earliest available date.

                3.       The Debtors comprise one of the leading educational publishers in

  the U.S. public school market (known as kindergarten to grade 12 or “K-12”). The

  Debtors offer a diverse portfolio of products and services, including textbooks,

  workbooks, supplemental materials, technology-based products, teaching guides, various

  types of standardized and customized tests, professional assessment products, and a wide

  range of trade and reference titles. The Debtors are organized into the following two

  divisions: education and trade and reference. The education division is the largest

  division and represents approximately 90% of the Debtors‟ total revenue. The Debtors‟



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  revenue and EBITDA for the year ended December 31, 2011 were approximately $1.295

  billion and $238 million, respectively.

                4.       The global financial crisis over the past several years has

  negatively affected the Debtors‟ recent financial performance. The Debtors‟ business

  depends largely on state and local funding and the recession-driven decreases in state

  spending as well as significant purchase deferrals in key states and territories resulted in

  material reductions in the overall size of the Debtors‟ key K-12 market. Lack of

  anticipated federal stimulus support also contributed to the Debtors‟ substantial revenue

  decline. As a result of the deteriorating macroeconomic conditions, the Debtors, along

  with certain of their non-debtor affiliates, implemented a consensual out-of-court

  restructuring in March, 2010. Despite the out-of-court restructuring, due to the

  continuing contraction of funds for state education spending and higher deferrals of

  awarded business than expected, the Debtors have continued to experience financial

  difficulties. On or about December 22, 2011 and December 29, 2011, the Debtors

  entered into amendments to their first lien credit facility and receivables facility,

  respectively (collectively, the “Amendments”).

                5.       Notwithstanding the Amendments, the Debtors have determined

  that a complete delevering of their capital structure is now necessary. In or about March

  2012, significant holders of claims under the Debtors‟ first lien credit facility and the

  10.5% Notes formed an informal creditor group (the “Informal Creditor Group”). Since

  its formation, the Informal Creditor Group and its advisors have engaged in constructive

  dialogue with the Debtors regarding a comprehensive restructuring of the Debtors‟

  outstanding debt and equity.



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                  6.        After months of good faith, arm‟s-length negotiations among the

  Debtors and the Informal Creditor Group and their respective advisors, on May 10, 2012,

  the parties reached an agreement on the terms of a restructuring to completely delever the

  Debtors‟ balance sheet. The Debtors have commenced these chapter 11 cases to

  implement the terms of the agreement which has been embodied in the Prepackaged Plan

  and the accompanying Restructuring Support Agreement.2

                                        RELIEF REQUESTED

                  7.        By this Motion, the Debtors seek authority under sections 105(a),

  363(b), 507(a)(3) and 507(a)(4) of the Bankruptcy Code to pay prepetition wages,

  salaries, payroll taxes, deductions, employee benefits and related expenses (the “Wages

  and Benefits”) in accordance with their existing policies in the ordinary course of their

  business up to the following maximum amounts: $6,180,400 in the aggregate, on account

  of prepetition wages, salaries and commissions owed to Employees (defined below) and

  Independent Contractors (defined below); $1.745 million, in the aggregate, on account of

  business expense reimbursements; $1.5 million, in the aggregate, on account of Payroll

  Taxes (defined below); $4,000, in the aggregate, on account of Deductions (defined

  below); and $3,665,000, in the aggregate, in connection with Employee Benefits (defined

  below).

                  8.        The Debtors‟ employees constitute the Debtors‟ most valuable

  asset and are essential to the Debtors‟ businesses and successful reorganization. Absent

  an order granting the requested relief, many employees will suffer undue hardship, and in



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      Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the
      Prepackaged Plan and Disclosure Statement.


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  many instances, face serious financial difficulties. Moreover, an inability to pay their

  employees in the ordinary course may irreparably undermine the stability of the Debtors‟

  on-going operations and prevent the Debtors‟ successful recapitalization and

  reorganization.

  A.     Employees

                9.       The Debtors currently employ approximately 3,330 employees,

  (the “Employees), 3,245 of which are full time Employees. The Debtors also currently

  employ approximately 250 independent contractors (the “Independent Contractors”).

                10.      The Employees and Independent Contractors perform a variety of

  functions critical to the Debtors‟ operations, including, but not limited to, product

  manufacturing, sales, marketing, accounting, administration and management.

  Furthermore, the Employees‟ knowledge and understanding of the Debtors‟ products,

  operations, customer relations and infrastructure are essential to the Debtors‟ effective

  reorganization.

  B.     Prepetition Employee Obligations

         (i)     Wages, Salaries, and Other Compensation

                11.      The average gross monthly compensation that the Debtors pay to

  their Employees, including wages, salaries, commissions and other compensation

  (collectively, “Wages”), totals approximately $19.4 million. Approximately 97.2% of

  payroll payments to Employees are made by direct deposit through electronic fund

  transfers directly to the Employees‟ bank accounts. The remainder of the payroll

  payments are paid by check, primarily to warehouse Employees. Most of the Employees

  are paid on a biweekly basis. Warehouse Employees are paid on a weekly basis. The

  Debtors‟ payroll is administered by Automated Data Processing, Inc. (“ADP”). Average

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  annual fees relating to the administration of the Debtors‟ payroll and other human

  resources systems and services by ADP total approximately $1.4 million.

                 12.        Because most of the Employees are paid in arrears, some of the

  Employees may not have been paid all of their prepetition Wages as of the Petition Date.

  Compensation may also be due and owing as of the Petition Date because some payroll

  checks issued to Employees may not have been presented for payment or cleared the

  banking system prior to the Petition Date.

                 13.        The Debtors estimate that the aggregate amount of accrued Wages

  (excluding the Payroll Taxes and Deductions, each as defined below) earned prior to the

  Petition Date that remains unpaid to the Employees totals approximately $5.5 million (the

  “Unpaid Wages”). By this Motion, the Debtors request authority to pay all such Unpaid

  Wages to their Employees in the ordinary course of business.

                 14.        Based upon the Debtors‟ thorough review of their books and

  records, approximately 7 Employees are owed more than $11,725, in the aggregate, on

  account of Wages as of the Petition Date.3 Although these claims exceed the $11,725

  statutory limit by approximately $97,700, the Debtors seek authority pursuant to this

  Motion to pay those claims in full. The Debtors believe that such payments are justified

  because the Prepackaged Plan provides that all unsecured claims, including prepetition



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      Of the seven Employees who are owed more than $11,725, the Debtors‟ chief executive officer, Linda
      K. Zecher, is owed approximately $4,700 over the priority cap. The other Employees are non-
      management Employees who are owed commissions for work that was performed in 2011. Those
      Employees are: Amy Zagora – Account Manager; Deborah Smith – Account Manager; Beatrice Jean-
      Baptiste – Sales Consultant; Christine Jenkins – Sales Representative; and Kimberly Boller-Drake –
      Sales Representative. The range in amounts that is over the priority cap is from $400 to $8,384. Also,
      one Employee, Nancy Updegraff – Federal Funds Consultant, is owed $75,000 over the priority cap,
      which is due for commissions for work that was performed in 2011 and that was in dispute until
      recently being settled.


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  amounts in respect of Unpaid Wages, will be paid in full. As a result, it is merely a

  question of timing, as the Debtors would have to pay these claims pursuant to the

  Prepackaged Plan in any event.

                 15.       The Debtors also utilize Independent Contractors and have

  engaged ZeroChaos to manage the Independent Contractors‟ payroll and expenses. In

  2011, the Debtors spent approximately $15 million for the services of Independent

  Contractors.

                 16.       Depending on the type of service rendered, Independent

  Contractors are paid according to the terms of their agreements. As of the Petition Date,

  the Debtors estimate that they owe approximately $680,553 for the unpaid and accrued

  services of Independent Contractors, 7 of whom individually are owed more than

  $11,725.4 By this Motion, the Debtors request authority to pay any and all prepetition

  amounts owing to Independent Contractors.

          (ii)    Reimbursement of Prepetition Employee Business Expenses

                 17.       In the ordinary course of their business, the Debtors directly or

  indirectly reimburse Employees for certain expenses that Employees incur on behalf of

  the Debtors in the scope of the Employees‟ employment (the “Reimbursable Business

  Expenses”). The Reimbursable Business Expenses include things such as air travel,

  lodging, ground transportation, meals, and other similar expenditures. Certain

  Employees incur the Reimbursable Business Expenses on behalf of the Debtors through

  use of American Express credit cards. After the submission and approval of expense



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      The Independent Contractors who are owed more than $11,725 provide professional development to
      schools on-site. The range in amounts that is over the priority cap is from $1,774 to $5,825.


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  reports, the Debtors pay the Reimbursable Business Expenses directly to American

  Express. Other Employees enter expenses into Concur software and are then reimbursed

  through automated clearing house (“ACH”) payments or Electronic Funds Transfer

  (“EFT”) payments. The Debtors rarely use petty cash funds to reimburse Employees for

  Reimburseable Business Expenses, although de minimis amounts are paid to Employees

  through this method of reimbursement.

                 18.     In 2011, the Debtors spent approximately $31,542,129 on

  Reimbursable Business Expenses, including payments made to American Express and

  payments made through ACH and EFT. Because Employees do not always submit

  expense reports regularly, the Debtors cannot precisely determine the exact amount of

  Reimbursable Business Expenses outstanding as of the Petition Date. However, based on

  historical averages, the Debtors estimate that no more than $1.745 million of such

  expenses remain unpaid as of the Petition Date.

                 19.     The Employees incurred all of the Reimbursable Business

  Expenses on the Debtors‟ behalf and with the understanding that they would be

  reimbursed. To avoid harming the individual Employees who have incurred such costs,

  the Debtors request authority to pay the Reimbursable Business Expenses, including

  paying any and all unpaid Reimbursable Business Expenses that accrued prepetition or

  relate to the prepetition period up to an amount of $ 1.745 million in the aggregate.

         (iii)    Prepetition Withholdings and Deductions

                 20.     By law, the Debtors must withhold from an Employee‟s Wages

  amounts related to, among other things, federal, state and local income taxes, social

  security and Medicare taxes, (collectively, the “Withheld Amounts”) for remittance to the

  appropriate federal, state, or local taxing authorities. The Debtors must then match from

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  their own funds social security and Medicare taxes and pay, based upon a percentage of

  gross payroll, additional amounts for state and federal unemployment insurance (the

  “Employer Payroll Taxes” and together with the Withheld Amounts, the “Payroll

  Taxes”). ADP manages the withholding and payment of Payroll Taxes for the Debtors.

               21.       In 2011, the Debtors‟ annual Payroll Taxes totaled approximately

  $94 million, which includes taxes withheld from employees in the aggregate amount of

  $70.7 million and taxes that were paid directly by the Debtors in the aggregate amount of

  $23.2 million. ADP generally processes and forwards the Payroll Taxes to the

  appropriate federal, state or local taxing authorities one day prior to administering the

  Employee payroll checks. As of the Petition Date, the Debtors estimate that the amount

  of accrued and outstanding prepetition obligations with respect to the Payroll Taxes totals

  approximately $1.5 million. The Debtors seek authority, but not direction, to honor and

  process the prepetition obligations with respect to the Payroll Taxes, including

  forwarding the Withheld Amounts to the appropriate parties.

               22.       During each applicable pay period, the Debtors also routinely

  deduct certain amounts from Employees‟ paychecks, including: pre-tax and after-tax

  deductions payable pursuant to certain of the Employee benefit plans discussed below,

  including the 401K policy, as well as garnishments (collectively, the “Deductions”). The

  Debtors typically forward the Deductions to various third party recipients. On average,

  the Debtors have historically deducted approximately $12.7 million in Deductions from

  the Employees‟ paychecks per month. As of the Petition Date, the Debtors estimate that

  they previously deducted approximately $4,000 from Employees‟ earnings that have not

  yet been forwarded to the appropriate third party recipients. The Debtors seek authority,



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  but not direction, to honor and process the prepetition Deductions, including forwarding

  the Deductions to the appropriate parties.

  C.     Prepetition Employee Benefits

               23.      In the ordinary course of business, the Debtors provide their

  Employees, directly or indirectly, with a number of employee benefits including:

  (a) medical and health care programs; (b) vacation, sick and leave benefits; (c) savings

  plans; and (d) certain other employee benefits, each described further below (collectively,

  the “Employee Benefits”). The Debtors‟ Employee Benefits are administered by various

  third party insurance companies including CIGNA Corporation, Metropolitan Life

  Insurance Co. and Vision Service Plan. In addition to payroll services, ADP also

  provides the Debtors with management tools, such as tracking and call center systems,

  related to the administration of Employee Benefits. As of the Petition Date, the Debtors

  estimate that the total amount owed or accrued prepetition in connection with the

  Employee Benefits totals approximately $3,665,500.

         (i)     Medical Benefits

               24.      The Debtors offer their eligible full-time Employees programs for

  health, vision and dental care coverage through third party insurers (the “Health Care

  Programs”). The Health Care Programs are funded by the Debtors and by deductions

  from payroll as noted above.

               25.      In 2011, the Debtors paid approximately $22.7 million on Health

  Care Programs, including $20.8 million for medical programs, $1.7 million for dental

  programs, and $160,000 for vision programs. As of the Petition Date, the Debtors

  estimate that the amount of accrued and outstanding prepetition obligations with respect

  to the Health Care Programs totals approximately $3.55 million.

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                26.     By this Motion, the Debtors seek authority to: (a) continue to

  provide the Health Care Programs for their Employees in the ordinary course of business;

  (b) continue to honor obligations under such benefit programs, including any premiums

  and administrative fees; and (c) pay any amounts owed under the Health Care Programs

  to the extent that they remain unpaid as of the Petition Date in an amount not to exceed $

  $3.55 million in the aggregate. The Debtors do not believe that they owe any amounts in

  excess of the statutory limit under section 507(a)(5) of the Bankruptcy Code. With

  respect to the Employees who exceed the $11,725 priority cap, the Debtors seek authority

  pursuant to this Motion to pay amounts owed under the Health Care Programs in full

  because the Prepackaged Plan provides for the payment of all unsecured claims,

  including any prepetition amounts in respect of Health Care Programs, in full. As a

  result, it is merely a question of timing, as the Debtors would have to pay these claims

  pursuant to the Prepackaged Plan in any event.

         (ii)    Vacation, Occasional Absence, Personal Leave and Parental Leave
                 Benefits

                27.     The Debtors provide vacation time (“Vacation Time”) to all

  regular full time Employees, part-time Employees regularly scheduled to work twenty-

  one (21) or more hours per week, and project employees who are regularly scheduled to

  work twenty-one (21) or more hours per week and who are assigned to a project expected

  to last at least six months (“Eligible Employees”). Vacation time accrues weekly. Full-

  time Employees and full-time project employees accrue vacation at rates based on their

  job level and years of service. Part-time Employees and part-time project employees

  accrue vacation on a pro-rata basis according to their regularly scheduled hours, job level

  and years of service. Eligible Employees are paid for Vacation Time at their regular


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  hourly or salaried rates. Vacation Time must be used in the year it initially accrues and

  may not be carried over from year to year. The Debtors do not pay Employees in lieu of

  taking accrued Vacation Time except on termination of employment. An Employee‟s

  accrued, unused Vacation Time will be paid in full at the time of termination.

               28.       The Debtors also provide ten (10) paid absence days to their

  Employees (“Occasional Absence Days”). Occasional Absence Days can be due to

  illness or injury (if less than five consecutive days), bereavement, religious observances,

  or compelling personal reasons. Employees are paid for Occasional Absence Days at

  their regular hourly or salaried rates. Occasional Absence Days do not carry over to the

  following calendar year and pay cannot be requested in lieu of Occasional Absence Days.

               29.       The Debtors also provide unpaid personal leave of absence

  benefits to their Employees (“Personal Leave”). Individual Employees must use all

  accrued but unused vacation before they are eligible for a personal leave. Once Personal

  Leave is approved, an Employee must use five Occasional Absence Days, if available,

  before entering unpaid status.

               30.       In addition, the Debtors provide paid parental leave benefits to

  their Employees (“Parental Leave,” collectively with Vacation Time, Occasional

  Absence Days and Personal Leave, “Leave Benefits”). Parental Leave is a one week paid

  leave of absence for eligible Employees who have or adopt a child.

               31.       Prepetition costs of Leave Benefits will be honored through the

  payroll process by the continuation of pay during the affected Employees‟ applicable

  leave. By this Motion, the Debtors request authority to continue to honor their Leave

  Benefit policies in the ordinary course of business and to honor all prepetition obligations



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  related thereto, including full payment of Leave Benefits up to the amounts set forth in

  Paragraph 7 above, inclusive of Unpaid Wages and other applicable benefits.

         (iii)    The Savings Plan

                 32.     The Debtors maintain a 401(k) Plan for all employees with more

  than one month of service (the “401(k) Plan”). The 401(k) Plan provides for pre-tax

  salary deductions of eligible compensation, which amounts are generally deducted

  automatically from each participating Employee‟s paycheck. The Debtors match 50% of

  the first 6% the Employee contributes to the 401(k) Plan. On average, the Debtors‟

  contributions to the 401(k) Plan total approximately $410,000 per month against

  Employee contributions of approximately $1.5 million per month.

                 33.     Approximately 76% of Employees currently participate in the

  401(k) Plan. During 2011, these Employees collectively contributed approximately

  $17.7 million of their own funds into the 401(k) Plan.

                 34.     The Debtors do not believe that they owe any amounts to third

  parties in connection with the 401(k) Plan, but out of an abundance of caution in the

  event that they do, by this Motion, the Debtors seek authority to continue to perform their

  obligations in connection with the 401(k) Plan in the ordinary course of their business.

         (iv)     Severance Benefits

                 35.     The Debtors provide severance (“Severance”) to employees who

  have been terminated in the ordinary course of business. In order to assist a terminated

  Employee‟s transition to unemployment, the Debtors provide severance according to the

  terms and conditions set forth in the Debtors‟ severance plan (the “Severance Plan”).

                 36.     Pursuant to the terms of the Severance Plan, Employees whose

  employment is involuntarily terminated by the Debtors for any reason other than for a

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  reason related to performance, or for cause, are entitled to Severance equal to his or her

  gross weekly base wages (“Weekly Base Compensation”), before any withholdings or

  deductions, times the greater of (i) the minimum number of weeks, (“Minimum Number

  of Weeks”) as set forth below, for his or her job level at the time of termination or (ii) the

  number of his or her years of service multiplied by two (2) weeks per year of service.

  The Minimum Number of Weeks for (i) staff and associates, (ii) senior associates,

  (iii) professional, management, and leader employees and (iv) executive employees is

  four (4), six (6), eight (8) and twelve (12) weeks, respectively. In general, severance pay

  cannot exceed the amount of an Employees‟ Weekly Base Compensation multiplied by

  fifty-two (52).

                37.      There are no health benefits provided under the Severance Plan.

  However, eligible Employees may continue to participate in the Debtors‟ medical, dental

  and vision benefits provided he or she pays the entire cost of coverage (plus up to a two

  percent (2%) administrative fee) under the federal law known as the Consolidated

  Omnibus Budget Reconciliation Act (“COBRA”).

                38.      Severance payments are paid in installments, less withholdings as

  required by law, based on the current pay schedule of the eligible Employee at the time of

  separation, beginning generally within twenty-one (21) days following the latest of (a)

  the date of termination, (b) the last day of the first pay period immediately following the

  pay period in which the eligible Employee returns a fully and properly executed release

  or separation agreement; or (c) if the eligible Employee has a right to revoke his or her

  execution of the release or separation agreement, the latest date as of which he or she

  may do so.



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               39.      As of the Petition Date, the Debtors do not owe any amounts to

  terminated Employees under the Severance Plan.

               40.      By this Motion, the Debtors seek authority to continue to perform

  their obligations in connection with the Severance Plan in the ordinary course of their

  business up to the amounts set forth in Paragraph 7 above, inclusive of Unpaid Wages

  and other applicable benefits.

         (v)     Additional Employee Benefits

                        (a)        Defined Benefit Plan

               41.      The Debtors make contributions to a retirement plan for employees

  (the “Retirement Plan”). In 2011, the Debtors contributed approximately $9.1 million to

  the Retirement Plan. Based on two alternative measures that can be used to determine a

  plan‟s funded status, ERISA funding valuation, and FAS accounting, the Retirement Plan

  is approximately 34% underfunded. The Debtors project to contribute approximately

  $16.4 million in 2012 towards funding of the Retirement Plan.

               42.      By this Motion, the Debtors seek authority to continue to perform

  their obligations in connection with the Retirement Plan in the ordinary course of their

  business.

                        (b)        Life Insurance

               43.      The Debtors provide life insurance to their eligible Employees (the

  “Life Insurance Program”). Pursuant to the Life Insurance Program, the Debtors pay

  approximately $21,600 per month and in 2011, the Debtors paid approximately $251,000

  pursuant to the Life Insurance Program. As of the Petition Date, the Debtors estimate

  that the amount of accrued and outstanding prepetition obligations with respect to the

  Life Insurance Program totals approximately $0.

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                44.      By this Motion, the Debtors seek authority to continue to perform

  their obligations in connection with the Life Insurance Program in the ordinary course of

  their business.

                         (c)    Disability

                45.      The Debtors provide short and long term disability insurance to

  their eligible Employees (the “Disability Insurance Program”). Pursuant to the Disability

  Insurance Program, disabled Employees, receive a percentage of their weekly or

  biweekly salary for a certain period of time.

                46.      On average, the Debtors pay approximately $90,000 per month in

  short term disability insurance and $56,000 per month in long term disability insurance

  under the Disability Insurance Program. In 2011, the Debtors paid approximately

  $1,310,000 in short term disability insurance and $670,000 in long term disability

  insurance under the Disability Insurance Program. As of the Petition Date, the Debtors

  estimate that the amount of accrued and outstanding prepetition obligations with respect

  to the Disability Insurance Program totals approximately $0.

                47.      By this Motion, the Debtors seek authority to: (a) continue to

  provide the Disability Insurance Program for their Employees in the ordinary course of

  business; (b) continue to honor obligations under such benefit programs, including any

  premiums and administrative fees; and (c) pay any amounts owed under the Disability

  Insurance Program to the extent that they remain unpaid as of the Petition Date.

                         (d)    Executive Life Insurance and Long Term Disability
                                Insurance

                48.      The Debtors provide executive life insurance (“Executive Life

  Insurance Program”) that pays a death benefit (a “Death Benefit”) to the eligible


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  Employees‟ beneficiary upon death. The Debtors also provide executive long term

  disability insurance (“Executive Long Term Disability Insurance Program”).

               49.      On average, the Debtors pay approximately $2,000 per month, in

  health care costs under the Executive Life Insurance Program. In 2011, the Debtors paid

  approximately $64,000 under the Executive Life Insurance Program. On average, the

  Debtors pay approximately $1,200 per month in health care costs under the Executive

  Long Term Disability Program. In 2011, the Debtors paid approximately $18,836 in

  premiums under the Executive Long Term Disability Program. As of the Petition Date,

  the Debtors estimate that the amount of accrued and outstanding prepetition obligations

  with respect to the Executive Life Insurance Program and Executive Long Term

  Disability Program totals approximately $15,500, in the aggregate.

               50.      By this Motion, the Debtors seek authority to: (a) continue to

  provide the Executive Life Insurance Program and the Executive Long Term Disability

  Insurance Program for their executive Employees in the ordinary course of business; (b)

  continue to honor obligations under such benefit programs, including any premiums and

  administrative fees; and (c) pay any amounts owed under the Executive Life Insurance

  Program and the Executive Long Term Disability Insurance Program to the extent that

  they remain unpaid as of the Petition Date.

                        (e)     Outplacement Services

               51.      The Debtors provide outplacement and career transition services

  (the “Outplacement Services”) for Employees who have been displaced due to

  terminations. In 2011, the cost of Outplacement Services to the Debtors was

  approximately $159,000.



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               52.       The Debtors do not believe that any amounts are outstanding in

  connection with the Outplacement Services, but in the event that there are, by this

  Motion, the Debtors seek authority to continue to perform their obligations in connection

  with Outplacement Services in the ordinary course of their business.

                         (f)    Voluntary Insurance

               53.       Eligible Employees may voluntarily purchase additional insurance

  for home, automobile, legal, critical illnesses and accident, supplemental life and

  dependent life through carriers such as MetLife and Unum Group (the “Voluntary

  Programs”). Employees pay 100% of the cost for all Voluntary Programs.

               54.       The Debtors do not believe that any amounts are outstanding in

  connection with the Voluntary Programs, but in the event that there are, by this Motion,

  the Debtors seek authority to: (a) continue to provide the Voluntary Programs for their

  Employees in the ordinary course of business and (b) continue to honor obligations under

  such benefit programs, including any administrative fees.

                         (g)    Relocation Expenses

               55.       The Debtors also provide certain of their Employees with

  reimbursement for relocation expenses. The Debtors believe that honoring their

  commitments under these programs is warranted, at a minimum, by public relations and

  Employee morale considerations. As of the Petition Date, the Debtors believe that they

  owe under $100,000 in reimbursable relocation expenses. Accordingly, the Debtors

  request authority to make payments for reimbursable relocation expenses.




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  D.     Authorizing and Directing Financial Institutions to Honor and Pay All
         Checks and Transfers Drawn on the Debtors’ Accounts Related to the
         Foregoing

               56.       The Debtors further request that all applicable banks and other

  financial institutions be authorized and directed to receive, process, honor and pay all

  checks presented for payment and to honor all fund transfer requests made by the Debtors

  related to the Employee Wages and Benefits, whether such checks were presented or fund

  transfer requests were submitted prior to or after the Petition Date. The Debtors also seek

  authority to issue new postpetition checks, or effect new funds transfers, on account of

  prepetition Employee Wages and Benefits to replace any prepetition checks or funds

  transfer requests that may be dishonored or rejected. The Debtors represent that each of

  these checks or transfers is or will be drawn on the Debtors‟ accounts and can be readily

  identified as relating directly to payment of the Employee Wages and Benefits. The

  Debtors believe that prepetition checks and transfers, other than those for Employee

  Wages and Benefits or those authorized by another order of the Court, will not be

  honored inadvertently.

               57.       Authorization to pay all amounts on account of prepetition

  Employee Wages and Benefits shall not be deemed to constitute postpetition assumption

  or adoption of any contract, program, or policy pursuant to section 365 of the Bankruptcy

  Code. The Debtors are in the process of reviewing these matters and reserve all of their

  rights under the Bankruptcy Code with respect thereto. Moreover, authorization to pay

  all amounts in respect of prepetition Employee Wages and Benefits shall not affect the

  Debtors‟ right to contest the amount or validity of any of the Employee Wages and

  Benefits, including without limitation, the Third Party Funds (as defined below) that may

  be due to any taxing authority.

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                                     BASIS FOR RELIEF

                58.      The Debtors request authority to pay their prepetition Wages, and

  Benefits and related expenses in the ordinary course of their business. Any delay in

  paying any of their Employees (including project employees and Independent

  Contractors) could severely disrupt the Debtors‟ relationship with their Employees and

  dedicated non-Employee personnel and irreparably harm their morale at the very time

  that Employee dedication, confidence, support and cooperation proves most critical. If

  the Debtors do not obtain immediate authority to pay their Wages and non-Employee

  personnel and Employee Benefits, the Debtors‟ operations may be severely impaired. At

  this critical stage, the Debtors cannot risk the substantial disruption of their business

  operations that would attend any decline in workforce morale attributable to the Debtors‟

  failure, or worse, inability to pay, the Wages and Employee Benefits.

                59.      In addition, absent payment of the Wages and Employee Benefits,

  Employees, Independent Contractors and project employees would suffer hardship and,

  in many instances, financial duress. The Debtors‟ workforce depends on its employment

  income to meet personal financial obligations, especially in these trying economic times.

                60.      Sections 105(a) and 363(b) of the Bankruptcy Code authorize the

  requested relief. Section 105(a) of the Bankruptcy Code allows the Court to “issue any

  order, process, or judgment that is necessary or appropriate to carry out the provisions of

  [the Bankruptcy Code.]” 11 U.S.C. § 105(a). It permits a bankruptcy court to take

  whatever action “is appropriate or necessary in aid of the exercise of its jurisdiction.”

  2 COLLIER ON BANKRUPTCY, ¶ 105.01, at 105-5 (Alan N. Resnick & Henry J. Sommer

  eds., 16th ed.). Similarly, section 363(b)(1) of the Bankruptcy Code authorizes a debtor to



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  use property of the estate other than in the ordinary course of business after notice and a

  hearing. 11 U.S.C. § 363(b)(1).

               61.       The Debtors submit that, to the extent any Employee is owed in

  excess of $11,725, payment in full of such claims is justified. Because the Prepackaged

  Plan provides that all unsecured creditors – including Employees – will be paid in full,

  declining to grant the requested relief most likely would only delay payment to the

  affected Employees. Any such delay will further undermine Employee morale and

  exacerbate Employee retention issues, possibly resulting in the loss of key members of

  the workforce who have significant institutional knowledge and relevant experience.

  Such workforce attrition could seriously undermine the value of the Debtors‟ estates.

               62.       Further, such payments are necessary and appropriate and may be

  authorized under sections 105(a) and 363(b) of the Bankruptcy Code and pursuant to the

  “doctrine of necessity.” Courts have routinely authorized debtors to pay prepetition wage

  and employee claims pursuant to sections 105(a) and 363 of the Bankruptcy Code where

  such payment was necessary to ensure the debtor‟s continued, uninterrupted operation.

  See Michigan Bureau of Workers’ Disability Compensation v. Chateaugay Corp. (In re

  Chateaugay Corp.), 80 B.R. 279, 289 (S.D.N.Y. 1987) (affirming a bankruptcy court

  authorizing the debtor to pay prepetition wages, salaries and various employee benefits);

  In re Ionosphere Clubs, Inc., 98 B.R. 174, 177 (Bankr. S.D.N.Y. 1989) (authorizing

  debtor to pay employee prepetition wages, salaries and benefits).

               63.       The well-settled “necessity of payment” doctrine also supports the

  requested relief. This rule authorizes postpetition payment of prepetition obligations

  where necessary to preserve or enhance the value of a debtor‟s estate for the benefit of all



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  creditors. See, e.g., Miltenberger v. Logansport, C. & S.W. Ry. Co., 106 U.S. 286, 311

  (1882) (articulating legal theory later termed the “doctrine of necessity‟ or the “„necessity

  of payment‟ doctrine” and holding that payment of pre-receivership claim prior to

  reorganization permitted to prevent stoppage of crucial business relations); In re Boston

  and Maine Corp., 634 F.2d 1359, 1382 (1st Cir. 1980) (recognizing the existence of a

  judicial power to authorize trustees to pay claims for goods and services that are

  indispensably necessary to the debtors‟ continued operation); Southern Ry. Co. v.

  Flournoy, 301 F.2d 847, 852 (4th Cir. 1962) (“The principle of necessity of payment

  [espoused in Miltenberger] has since been carried into different factual surroundings as

  the basis for granting superiority to business-operating accounts.”); In re Just For Feet,

  Inc., 242 B.R. 821, 824 (D. Del. 1999) (granting approval to pay prepetition claims of

  certain trade vendors which were critical to the debtors‟ reorganization); In re Columbia

  Gas Sys., Inc., 171 B.R. 189, 191-92 (Bankr. D. Del. 1994) (noting that debtors may pay

  prepetition claims that are essential to continued operation of business); Chateaugay

  Corp., 80 B.R. at 289 (approving lower court order authorizing payment of prepetition

  wages, salaries, expenses and benefits).

                64.       Debtors frequently invoke the necessity of payment doctrine early

  in a reorganization case when preservation of the estate proves most critical and often

  extremely difficult. For that reason, bankruptcy courts routinely invoke their equitable

  powers to authorize a debtor to pay certain critical prepetition claims under section

  105(a) if “authorizing the payment of the prepetition debt creates „the greatest likelihood

  of . . . payment of creditors in full or at least proportionately.‟” In re Structurelite

  Plastics Corp., 86 B.R. 922, 932 (Bankr. S.D. Ohio 1988); see also In re Eagle-Picher



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  Industries, Inc., 124 B.R. 1021, 1023 (Bankr. S.D. Ohio 1991) (stating that “to justify

  payment of a prepetition unsecured creditor, a debtor must show that the payment is

  necessary to avert a serious threat to the [c]hapter 11 process”); In re Ionosphere Clubs,

  Inc., 98 B.R. at 176 (“necessity of payment” rule “recognizes the existence of the judicial

  power to authorize a debtor in a reorganization case to pay prepetition claims where such

  payment is essential to the continued operation of the debtor” ).

               65.       Courts have recognized that the “necessity of payment rule”

  squarely applies where a debtor‟s employees must be paid on time to assure their

  continued service and loyalty during a chapter 11 case. E.g., Ionosphere Clubs, 98 B.R.

  at 174 (permitting Eastern Air Lines to pay its employees‟ prepetition wages, salaries,

  medical benefits and business expense claims under the “necessity of payment” doctrine).

               66.       This Court, in other cases, has routinely approved the payment of

  prepetition claims of employees for wages, salaries, independent contractor and

  temporary worker obligations, expenses and benefits, on the grounds that the payment of

  such claims was necessary to a successful chapter 11 outcome. See, e.g., In re TBS

  Shipping Servives Inc., Case No. 12-22224 (RDD) (Bankr. S.D.N.Y. Feb. 29, 2012)

  [Docket No. 86]; In re Eastman Kodak Company, Case No. 12-10202 (ALG) (Bankr.

  S.D.N.Y. Feb. 15, 2012) [Docket No. 357]; In re The Great Atl. & Pac. Tea Co., Case

  No. 10-24549 (RDD) (Bank. S.D.N.Y. Jan. 13, 2011) [Docket No. 497]; In re Penton

  Business Media Holdings, Inc. et al., Case No. 10-10689 (AJG) (Bankr. S.D.N.Y. Feb 11,

  2010) [Docket No. 38]; In re Metaldyne Corp., Case No. 09-13412 (MG) (Bankr.

  S.D.N.Y. May 29 and June 22, 2009) [Docket Nos. 9 and 276] (interim and final orders);

  In re BearingPoint Inc., et al., Case No. 09-10691 (REG) (Bankr. S.D.N.Y. Feb. 18 and



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  Mar. 13, 2009) [Docket Nos. 28 and 220] (interim and supplemental orders); In re

  Tronox Inc., et al., Case No. 09-10156 (ALG) (Bankr. S.D.N.Y. Jan. 13 and Feb. 6, 2009)

  [Docket Nos. 45 and 143] (interim and final orders); In re Lyondell Chemical Co., et. al.,

  Case No. 09-10023 (REG) (Bankr. S.D.N.Y. Jan. 9 and 26, 2009) [Docket Nos. 90 and

  408] (interim and final orders); In re Lenox Sales, Inc., Case No. 08-14679 (ALG)

  (Bankr. S.D.N.Y. Nov. 25, 2008) [Docket No. 25]; In re Steve & Barry’s Manhattan

  LLC, Case No. 08-12579 (ALG) [Docket No. 49] (Bankr. S.D.N.Y. July 10, 2008); In re

  PLVTZ Inc., Case No. 07-13532 (REG) (Bankr. S.D.N.Y. Nov. 9, 2007) [Docket No. 46];

  In re Dana Corp., Case No. 06-10354 (BRL) (Bankr. S.D.N.Y. Mar. 3, 2006) [Docket

  No. 46]; In re Calpine Corp., Case No. 05-60200 (BRL) (Bankr. S.D.N.Y. Dec. 21,

  2005) [Docket No. 33]; In re Delphi Corp., No. 05-44481 (RDD) (Bankr. S.D.N.Y.

  Oct. 13, 2005) [Docket No. 198]; In re Delta Air Lines, Inc., Case No. 05-17923 (ASH)

  (Bankr. S.D.N.Y. Sept. 16, 2005) [Docket No. 150]; In re Aerovias Nacionales de

  Colombia S.A. Avianca, Case No. 03-11678 (ALG) (Bankr. S.D.N.Y. Mar. 21, 2003)

  [Docket No. 24]; In re WorldCom, Inc., Case No. 02-13533 (AJG) (Bankr. S.D.N.Y.

  July 22, 2002) [Docket No. 63]; In re Adelphia Bus. Solutions, Inc., Case No. 02-11389

  (REG) (Bankr. S.D.N.Y. Mar. 27, 2002) [Docket No. 36]; In re Global Crossing Ltd.,

  Case No. 02-40188 (REG) (Bankr. S.D.N.Y. Jan. 28, 2002) [Docket No. 24]; In re Enron

  Corp., Inc., Case No. 01-16034 (ALG) (Bankr. S.D.N.Y. Dec. 3, 2001) (modified on

  Jan. 15, 2002) [Docket Nos. 49 and 927].

               67.      Furthermore, with respect to Employee Wage and Benefit claims,

  the issue of payment is mostly one of timing. All or a portion of the claims described in

  this Motion may be treated as priority claims under section 507(a)(3) and (a)(4) of the



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  Bankruptcy Code. See In re Olga Coal Co., 194 B.R. 741, 747 (Bankr. S.D.N.Y. 1996).

  As a result, the Debtors would have to pay these claims pursuant to a confirmed chapter

  11 plan in any event. This is particularly true in these chapter 11 cases because the

  Prepackaged Plan provides for the payment of all unsecured claims – including those of

  Employees – in full.

                68.      The Debtors submit that further cause exists to authorize the

  payment to the appropriate entities of the Payroll Taxes and Deductions (together, the

  “Third Party Funds”). The Third Party Funds principally comprise Employee earnings

  that governments, Employees and judicial authorities have designated for deduction from

  pay. The Debtors do not believe that such amounts are property of the Debtors‟ estates

  under section 541 of the Bankruptcy Code, and, therefore, such funds are not available

  for general distribution to the Debtors‟ creditors. See 11 U.S.C. § 541(b)(7) (amounts

  withheld from employee paychecks by employer for contribution to employee benefit

  plan are not property of the estate).

                69.      In addition to causing undue hardship to certain Employees, the

  failure to pay the Third Party Funds may result in the Debtors being inundated with

  inquiries from taxing authorities and garnishors regarding their failure to submit, among

  other things, taxes and child support and alimony payments, which are not the Debtors‟

  property but have been withheld from Employee paychecks. Moreover, if the Debtors

  cannot remit these amounts, the affected Employees may face legal action and/or

  imprisonment due to the Debtors‟ failure to submit these payments.

                70.      The Debtors‟ request for authority to pay the amounts described

  herein is not to be deemed an assumption or adoption of any agreements or policies



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  providing for such compensation or benefits. The Debtors are in the process of reviewing

  these matters and preserve all of their rights with respect to the assumption or rejection of

  any executory contracts.

                 WAIVER OF BANKRUPTCT RULES 6003(b), 6004(a)
                    AND 6004(h) AND LOCAL RULE 9013-1(b)

               71.       The Debtors further submit that because the relief requested in this

  Motion is necessary to avoid immediate and irreparable harm to the Debtors for the

  reasons set forth herein, Rule 6003 of the Federal Rules of Bankruptcy Procedure (the

  “Bankruptcy Rules”) has been satisfied. To successfully implement the foregoing, the

  Debtors also seek a waiver of (i) the notice requirements under Bankruptcy Rule 6004(a);

  (ii) the 14-day stay under Bankruptcy Rule 6004(h); and (iii) the notice requirements

  under Rule 9013-1(b) of the Local Bankruptcy Rules for the Southern District of New

  York (the “Local Rules”).




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                                           NOTICE

               72.       As of the date hereof, no creditors‟ committee, trustee, or examiner

  has been appointed in these chapter 11 cases. Notice of this Motion has been provided

  to: (i) the United States Trustee. Attention: Andrea B. Schwartz; (ii) counsel for the

  DIP/Exit Agent; (iii) the parties identified on the Debtors‟ consolidated list of twenty (20)

  largest unsecured creditors; (iv) counsel for the Informal Creditor Group; (v) counsel for

  the Prepetition Senior Secured Notes Trustee; (vi) counsel for the Prepetition Agent;

  (vii) counsel for the Prepetition L/C Bank; (viii) the Securities and Exchange

  Commission; (ix) the United States Attorney for the Sourthern District of New York;

  (x) the Internal Revenue Service; (xi) the Environmental Protection Agency; (xii) the

  Pension Benefit Guaranty Corporation; (xiii) the New York State Department of

  Taxation; (xiv) the New York City Tax Department; and (xv) such other parties entitled

  to notice pursuant to Local Rule 9013-1(m). The Debtors submit that, in light of the

  nature of the relief requested, no other or further notice need be provided.

                                   NO PRIOR REQUEST

               73.       No prior request for the relief sought herein has been made to this

  or any other court.




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                 WHEREFORE, the Debtors respectfully request that this Court enter an

  order substantially in the form attached hereto as Exhibit A granting the relief requested

  and such other and further relief as it deems just and proper.



  Dated: May 21, 2012                           PAUL, WEISS, RIFKIND WHARTON &
         New York, New York                     GARRISON LLP

                                                 By: /s/ Jeffrey D. Saferstein
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                                                Proposed attorneys for the Debtors and
                                                Debtors-in-Possession




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                                   EXHIBIT A


                                 Proposed Order
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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

  -------------------------------------- x
  In re:                                                            : Chapter 11
                                                                    :
  HOUGHTON MIFFLIN                                                  : Case No. 12-____ (___)
  HARCOURT PUBLISHING COMPANY, et al.,                              :
                                                                    : (Joint Administration Pending)
                                             Debtors.               :
  -------------------------------------- x

  ORDER (I) AUTHORIZING THE DEBTORS TO PAY CERTAIN PREPETITION
    (A) WAGES, SALARIES, COMMISSIONS AND OTHER COMPENSATION;
          (B) COMPENSATION OWED TO PROJECT EMPLOYEES AND
    INDEPENDENT CONTRACTORS; (C) EMPLOYEE BUSINESS EXPENSES;
     (D) CONTRIBUTIONS TO EMPLOYEE BENEFIT PROGRAMS AND THE
      CONTINUATION OF SUCH PROGRAMS IN THE ORDINARY COURSE;
   AND (E) PAYROLL WITHHOLDINGS AND RELATED DEDUCTIONS AND
       PAYMENTS; AND (II) AUTHORIZING AND DIRECTING FINANCIAL
     INSTITUTIONS TO HONOR AND PAY ALL CHECKS AND TRANSFERS
   DRAWN ON THE DEBTORS’ ACCOUNTS RELATED TO THE FOREGOING

                   Upon the motion (the “Motion”)1 of Houghton Mifflin Harcourt

  Publishing Company and its affiliated debtors and debtors-in-possession in the above-

  captioned cases (each a “Debtor,” and collectively, the “Debtors”), requesting entry of an

  order pursuant to sections 105(a), 363(b), 507(a)(3) and 507(a)(4) of the Bankruptcy

  Code: (I) authorizing the Debtors to pay certain prepetition (A) wages, salaries,

  commissions and other compensation; (B) compensation owed to project employees and

  independent contractors; (C) employee business expenses; (D) contributions to employee

  benefit programs and the continuation of such programs in the ordinary course; and (E)

  payroll withholding and related deductions and payments; and (II) authorizing and

  directing banks and other financial institutions to honor and pay all checks and transfers

  drawn on the Debtors‟ accounts related to the foregoing; and upon consideration of the



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      Capitalized terms used and not defined herein shall have the meaning ascribed to them in the Motion.
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  Affidavit of William F. Bayers pursuant to Local Rule 1007-2, sworn to on May 21,

  2012; and this Court having jurisdiction to consider the Motion and the relief requested

  therein pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that venue of these cases

  and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it

  appearing that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and it

  appearing that notice of the Motion has been given as set forth in the Motion and that

  such notice is adequate and no other or further notice need be given; and a hearing having

  been held to consider the relief requested in the Motion and upon the record of the

  hearing and all of the proceedings had before the Court; and the Court having found and

  determined that the relief sought in the Motion is in the best interests of the Debtors, their

  estates, their creditors and all other parties in interest; and that the legal and factual bases

  set forth in the Motion establish just cause for the relief granted herein; and after due

  deliberation and sufficient cause appearing therefor, it is hereby ORDERED that:

                  1.      The Motion is GRANTED as modified herein.

                  2.      The Debtors are authorized, but not directed, to continue to honor

  and pay, in the ordinary course of their business, all prepetition amounts relating to:

  (a) Unpaid Wages in an amount not to exceed $5.5 million in the aggregate; (b) unpaid

  compensation to Independent Contractors in an amount not to exceed $680,553 in the

  aggregate; (c) Reimbursable Business Expenses in an amount not to exceed $1.745

  million in the aggregate; (d) Payroll Taxes in an amount not to exceed $1.5 million; (e)

  Deductions in an amount not to exceed $4,000; and (f) Employee Benefits in an amount

  not to exceed $3,665,500 in the aggregate.

                  3.      The Debtors are authorized, but not directed, to continue to pay

  Wages in the ordinary course and in accordance with their prepetition practices and

  policies.
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                 4.        The Debtors are authorized to continue to pay their Independent

  Contractors in accordance with their prepetition practices and policies.

                 5.        The Debtors are authorized, but not directed, to continue to pay all

  Reimbursable Business Expenses in accordance with their prepetition practices and

  policies.

                 6.        The Debtors are authorized, but not directed, to continue to

  allocate and distribute all Third Party Funds in accordance with the Debtors‟ policies and

  prepetition practices.

                 7.        The Debtors are authorized, but not directed, to continue to provide

  and pay for the Employee Benefits in accordance with their prepetition policies and

  practices.

                 8.        The Debtors‟ financial institutions (the “Banks”) are authorized

  and directed to honor prepetition payroll checks, drafts and transfers on or after the

  Petition Date and, to the extent any Bank may have honored any prepetition payroll

  checks, drafts and transfers prior to the Petition Date, such honoring is ratified. The

  Banks are authorized and directed to process and honor all other checks and transfers

  issued for payments approved by this Order and/or reissue checks for any payments

  approved by this Order where checks may be or have been dishonored postpetition.

                 9.        The Debtors are authorized to reissue any check which was drawn

  in payment of a prepetition amount approved herein that is not cleared by a Bank.

                 10.       Nothing herein shall be deemed an assumption or adoption by the

  Debtors of any agreements or policies providing for prepetition compensation or benefits

  to the Employees or Independent Contractors. Nothing in this Order shall impair the

  Debtors‟ ability to contest the validity or amount of any Employee or Independent

  Contractor (or any other) claim authorized to be paid hereby.
                                               3
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                 11.     Bankruptcy Rule 6003(b) has been satisfied because the relief

  requested in the Motion is necessary to avoid immediate and irreparable harm to the

  Debtors. The requirements of Bankruptcy Rules 6004(a) and 6004 (h) and Local Rule

  9013-1 (b) are waived.

                 12.     Notwithstanding any provision in the Bankruptcy Rules to the

  contrary: (a) this Order shall be effective immediately and enforceable upon its entry;

  (b) the Debtors are not subject to any stay in the implementation, enforcement or

  realization of the relief granted in this Order; and (c) the Debtors are authorized and

  empowered, and may in their discretion and without further delay, take any action and

  perform any act necessary to implement and effectuate the terms of this Order.

                 13.     This Court shall retain jurisdiction with respect to any matters,

  claims, rights or disputes arising from or related to the Motion or the implementation of

  this Order.

  Dated: _____________, 2012
         New York, New York


                                        ____________________________________
                                        UNITED STATES BANKRUPTCY JUDGE




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